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UNITED STATES I)ISTRICT CoURT
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MAG. JUDGE RovaAND

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Plaintiff(S), )
)
vs. )

) 14cv7436

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)

Defendant(s).

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complaint is designed to help you, as a pro Se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

l. This is a claim for violation of plaintiffs civil rights as protected by the Constitution and
laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.

2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. PlaintifF s full name is -J» 14 , D c 03 /‘& lyons/6

I f there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

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l:r€lx, U.o. LAS i`RiCT COURT

 

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4. Defendant, /{a:/Ldleen /4,1//¢/ )Oa/m;?,@ ,is

(narne, badge number if known)

E/an officer or official employed by tj 742?£€ 075 ll ///' /10 165 §

(department or agency of government)
Ol‘

 

E an individual not employed by a governmental entity.

I f there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet.

5. The municipality, township or county under whose authority defendant officer or official
acted is 7a mm ,',o 750 /\@j . As to plaintiffs federal
constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

6. On or about Q- QQ~ 20[2 , at approximately X,' §§ DZ] a.m. l:l p.m.
(month,day, year)
plaintiff was present in the municipality (or unincorporated area) of MQ¢£@ g w
CO;,//» 71 /7/0¢,{§ fe , in the County of COQ/Y ,

State of lllinois, at

 

(identify location as precisely as possible)

when defendant violated plaintiffs civil rights as follows (Place X in each box that
applies):

§

arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff s civil rights;
Other:

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7. Defendant officer or official acted pursuant to a custom or policy of defendant
municipality, county or township, which custom or policy is the following: (Leave blank
if no custom or policy is alleged): 705 l 1 ['j § 05 /5/
8. Plaintiff was charged with one or more crimes, specifically:
D am eo:lL/'c 13a 7%:'¢/'/)/
9. (Place an X in the box that applies, I f none applies, you may describe the criminal

proceedings under “Other”) The criminal proceedings
[l are still pending.
l:l were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.1

|Ll/Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows /ac/'f 0 70 ralp/eucc y /Ve/'Y/l/e//~ ai j”/,'p

five @P)E`/°ce/~ u)ew@ 6;/’///¢4§, k-ne?é’ee fe a/¢yo@@n

l:| Other:

 

 

1Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3

 

 

 

 

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10. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)

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gaap/ess Ccmoz a/m/ 67¢/// //)q§ ae?Z Con?£ac?[ea/
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11. Defendant acted lgnowingly, ili_tentionall‘y, willfully and maliciously

12. As a result of defendant’s conduct, plaintiff was injured as follows:
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07;" /)/ s 5014 Qno/ /\/ .'€..50)1 § , 1057/f //Ld/&/E’ .

 

 

13. Plaintiff asks that the case be tried by a jury. M Yes l:| No

 

 

14.

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Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy

and/or any other claim that may be supported by the allegations of this complaint.

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. E/l/(Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.

15.

Plaintiff s signature: aj . l/;),, D&/)~Lu. L(/@-¢B\p/D

Plaintiff s name (print clearly or type): ;l: /?., <D@L/ef€ wUDL/ 515
Plaintiff s mailing address: /3,, @, 350}1’ \7 /j

City H,'"pg State :Z;zf, ZIP éU/¢/[

Plaintiffs telephone number: ( &/ 9) [e/q " 3 3 § d

Plaintiffs email address ( if you prefer to be contacted by email): j woOe£$ ,Z%@ mg,i/' 601/h

 

 

Plaintiff has previously filed a case in this district. lZ/;'es |j No

I f yes, please list the cases below.

Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff. An additional signature page may be added.

 

 

